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10
     Attorneys for Plaintiff,
11   GEORGE JONES
12
13                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
15
     GEORGE JONES, an individual,              Case No.
16
              Plaintiff,
17
         v.
18                                             COMPLAINT FOR VIOLATIONS
     SINALOENCE FOOD PRODUCTS &                OF: AMERICANS WITH
19
     SERVICES, INC., a California              DISABILITIES ACT OF 1990, 42
20   corporation; and DOES 1-10,               U.S.C. § 12181, et seq.; UNRUH
                                               CIVIL RIGHTS ACT, CALIFORNIA
21
               Defendants.                     CIVIL CODE § 51, et seq.
22
23                                             DEMAND FOR JURY TRIAL
24
25
26
27            Most Senior Americans will become disabled at some point in life.
28

                                        COMPLAINT
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 1         Plaintiff George Jones (hereinafter referred to as “Plaintiff”) complains of
 2
     Sinaloence Food Products & Services, Inc., a California corporation; and Does 1-10
 3
 4   (each, individually a “Defendant,” and collectively “Defendants”), and alleges as

 5   follows:
 6
                                       I.     PARTIES
 7
 8         1.     George Jones is hemiplegic because of brain strokes. He has lost
 9   function on the left side of his body, his dominant side. He relies on a cane and
10
     sometimes walker. He has difficulty using his upper body and lower body. Plaintiff
11
12   has difficulty walking and pushing or pulling objects. Plaintiff is a disabled person
13   entitled to the protections of the California Unruh Civil Rights Act (UCRA) (see
14
     Cal. Civ. Code §§ 51, et seq., 52, et seq.), the Americans with Disabilities Act
15
16   (ADA) (see 42 U.S.C. § 12102, et seq.), and other statutory laws which protect the
17   rights of “disabled persons.” Plaintiff has been issued permanent a Disabled Person
18
     Parking Placard, by the State of California. Plaintiff is a California resident with
19
20   physical disabilities.
21
           2.     Defendant Sinaloence Food Products & Services, Inc., a California
22
     corporation; owned the property (the “Property”), located at 4813 Rosecrans
23
24   Avenue, Compton, CA 90221.
25
           3.     There is a business establishment on the Property named “Tacos El
26
     Sinaloense,” “(the business”).
27
28
                                          2
                                      COMPLAINT
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 1         4.     The business is a public accommodation as defined by 42 U.S.C. §
 2
     12181(7).
 3
 4         5.     DOES 1 through 10 were at all relevant times lessors, lessees, property

 5   owners, subsidiaries, parent companies, affiliates, employers, employees, agents,
 6
     corporate officers, managers, principles, and/or representatives of Defendants.
 7
 8   Plaintiff is unaware of the true names and capacities of Defendants sued herein as
 9   DOES 1 through 10, inclusive, and, therefore, sues those Defendants by fictitious
10
     names. Plaintiff requests that the Court grant leave to amend this complaint to
11
12   allege the true names and capacities when determined by whatever source.
13         6.     Defendants, at all relevant times, were relevant to this action; were the
14
     owners, franchisees, franchisors, lessees, lessors, general partners, limited partners,
15
16   agents, affiliates, employees, employers, representative partners, subsidiaries,
17   partner companies, and/or joint venturers of the remaining Defendants; and were
18
     acting within the course and scope of that relationship. Upon information and
19
20   belief, Plaintiff alleges that each of the Defendants gave consent to, ratified, and/or
21
     authorized the acts alleged of each of the remaining Defendants.
22
           7.     Plaintiff visited the public accommodations owned, leased, and/or
23
24   operated by Defendants with the intent to purchase and/or use the goods, services,
25
     facilities, privileges, advantages, and/or accommodations offered by Defendants.
26
                             II.    JURISDICTION & VENUE
27
28
           8.     This Court has subject matter jurisdiction over this action pursuant to
                                          3
                                      COMPLAINT
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 1   28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3) & (a)(4) for violations of the ADA.
 2
            9.     Pursuant to supplemental jurisdiction, an attendant and related cause of
 3
 4   action, arising from the same nucleus of operative facts, and arising out of the same

 5   transactions, is also brought under the UCRA, which expressly incorporates the
 6
     ADA.
 7
 8          10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because
 9   the real property which is the subject of this action is located in this district, and
10
     Plaintiff’s cause of action arose in this district.
11
12                                         III.   FACTS
13          11.    The Property is a facility which is open to the public and includes
14
     business establishments.
15
16          12.    The Property has been newly constructed and/or underwent
17   remodeling, repairs, or alterations after January 26, 1992. Defendants have failed
18
     to comply with California access standards which applied at the time of each new
19
20   construction and/or alteration, and/or failed to maintain accessible features in
21
     operable working condition.
22
            13.    Plaintiff visited the Property during the relevant statutory period on
23
24   four (4) separate occasions, in January 2021, March 2021, August 2021 and
25
     September 2021 to patronize the business on the Property.
26
            14.    Defendants did not offer persons with disabilities with equivalent
27
28
                                            4
                                        COMPLAINT
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 1   facilities, privileges, and advantages offered by Defendants to other patrons.
 2
           15.    Plaintiff encountered barriers, both physical and intangible, that
 3
 4   interfered with, and denied, Plaintiff the ability to use and enjoy the goods, services,

 5   privileges, and/or accommodations offered at the Property.
 6
           16.    Parking is one of the facilities, privileges, and advantages offered by
 7
 8   Defendants to patrons of the Property.
 9         17.    However, there was no accessible parking for disabled patrons at the
10
     Property. The parking space(s) designated for disabled persons did not comply
11
12   with the ADA.
13         18.    The parking area did not comply with the applicable California
14
     Building Code (CBC).
15
16         19.    When Plaintiff visited the Property, he experienced access barriers
17   related to parking, signage, and paths of travel.
18
           20.    Plaintiff encountered the following barriers, conditions, and/or
19
20   violations at the Property:
21
           The designated disabled parking space for Tacos El Sinaloense is
22
           essentially non-existent due to its missing ADA elements and extremely
23
24         faded paint. The access aisle is also very faded. There is no marked path
25
           of travel connecting the access aisle to the transaction counter for the
26
           business. The paths of travel have slopes and pavement distresses which
27
28
                                          5
                                      COMPLAINT
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 1        pose risks of injury. This Property has missing signage among other
 2
          things.
 3
 4        VIOLATION of 1991 ADAS § 4.3.2(1); 2010 ADAS § 206.2.1; 2010 CBC

 5        § 1114B.1.2; 2019 CBC § 11B-206.2.1. (Exterior route of travel.) An
 6
          accessible route of travel is not provided to all entrances and portions of the
 7
 8        building, to all entrances of the Property, and/or between the building and a
 9        public way. Plaintiff needs a dedicated path of travel, free of obstructions
10
          and vehicles, where (on which) Plaintiff can travel. It is dangerous for
11
12        Plaintiff to navigate without a safe, protected, accessible route of travel; thus,
13        the violation interferes with Plaintiff’s ability to fully access the premises.
14
15
16        VIOLATION of 1991 ADAS §§ 4.1.2(1), 4.3.2(1); 2010 ADAS §§ 206.1,
17        206.2, 206.2.1, 206.2.2, 206.2.4; 2010 CBC § 1114B.1.2; 2010 CBC §
18
          1127B.1; 2019 CBC §§ 11B-206.2.1, 11B-206.2.2, 11B-206.2.4.
19
20        (Accessible route of travel.) At least one accessible route shall be provided
21
          within the site from accessible parking spaces and accessible passenger
22
          loading zones; public streets and sidewalks; and public transportation stops to
23
24        the accessible building or facility entrance they serve. At least one accessible
25
          route shall connect accessible buildings, accessible facilities, accessible
26
          elements, and accessible spaces that are on the same site. The requisite
27
28
                                         6
                                     COMPLAINT
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 1        accessible route of travel is not provided. There is no accessible route of
 2
          travel from the designated disabled parking spaces, adjacent access aisle to
 3
 4        the business/building entrance. Plaintiff needs an accessible route of travel,

 5        with level and smooth ground, free of obstructions and vehicles, whereupon
 6
          Plaintiff can ambulate. It is dangerous for Plaintiff to travel these areas
 7
 8        without a safe, protected, accessible route of travel; thus, the violation
 9        interferes with Plaintiff’s ability to fully access the premises. The lack of a
10
          safe and accessible route, with a smooth and level surface, denied Plaintiff
11
12        full and equal use or access during each of Plaintiff’s visits by making it
13        difficult/ harder for Plaintiff to traverse.
14
15
16        VIOLATION of 1991 ADAS § 4.1.2(7); 2010 ADAS § 216.6; 2010 CBC §
17        1127B.3; 2019 CBC § 11B-216.6. (Directional signage.) There is no
18
          directional signage showing an accessible path of travel to an accessible
19
20        entrance. Plaintiff faces an increased risk of injury if Plaintiff is required to
21
          backtrack because Plaintiff cannot find an accessible entrance into the
22
          business/building. Thus, Plaintiff requires clear signage directing him to any
23
24        accessible entrance(s). Accessible entrances should be marked with an
25
          International Symbol of Accessibility.
26
27
28
                                          7
                                      COMPLAINT
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 1        VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § § 11B-502.8, 11B-
 2
          502.8.2. (Off-street unauthorized parking sign – not posted.) The tow away
 3
 4        sign(s) (white sign stating that “UNAUTHORIZED VEHICLES PARKED

 5        IN DESIGNATED ACCESSIBLE SPACES … WILL BE TOWED
 6
          AWAY”) must be posted in a conspicuous place at each entrance to an off-
 7
 8        street parking lot (facility), or immediately adjacent to and visible from each
 9        designated parking stall (space). The requisite sign(s) are not posted.
10
          Plaintiff must use the designated disabled parking spaces and requires the
11
12        proper protections of an access aisle and an accessible route of travel to
13        safely access the Property. Clear signage that explicitly warns of the
14
          consequences for improperly parking in the designated disabled parking
15
16        spaces will deter others without disabilities from parking there.
17
18
          VIOLATION of 1991 ADAS § 4.6.4; 2010 ADAS § 502.6; 2010 CBC §
19
20        1129B.4; 2019 CBC § 11B-502.6. (Sign missing – accessible parking
21
          space.) The sign identifying the designated disabled parking space is/was
22
          missing. Plaintiff needs to park in the space that is nearest to the
23
24        building/business entrance and designated for disabled patrons. Plaintiff
25
          needs to be able to use an accessible parking space, with an access aisle, to
26
          safely access the Property. Clear signage will (better) deter others without
27
28
                                        8
                                    COMPLAINT
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 1        disabilities from parking in the space; and will thus decrease the chances that
 2
          he will be blocked from being able to use it.
 3
 4
          VIOLATION of 1991 ADAS § 4.6.4; 2010 ADAS § 502.6; 2010 CBC §
 5
          1129B.4; 2019 CBC § 11B-502.6.2. (Sign missing – “Minimum Fine
 6
 7        $250.”) There was no sign warning of the minimum fine of $250 for
 8
          unauthorized parking posted in front of the right designated disabled parking
 9
          space. Plaintiff needs to park in the space that is closest to the business
10
11        entrance and designated for disabled persons. Clear signage that distinctly
12
          warns of the penalties for unauthorized parking in the designated disabled
13
14
          parking space will deter others without disabilities from parking in the space

15        and thereby blocking Plaintiff from being able to use it.
16
17
18        VIOLATION of 1991 ADAS § 4.3.7; 2010 ADAS § 403.3; 2019 CBC §

19        11B-403.3. (Route/path of travel – cross slopes.) The cross slopes of the
20
          route/path of travel are greater than two percent (2%). It is difficult for
21
22        Plaintiff to travel on surfaces with excess slopes. Plaintiff is at risk of falling

23        when there are surfaces with excess slopes. The presence of excess slopes
24
          denied Plaintiff full and equal use or access during Plaintiff’s visits by
25
26        making it difficult and/or uncomfortable for Plaintiff to traverse the

27        property/route. The barrier also deterred/deters Plaintiff from visiting the
28
                                         9
                                     COMPLAINT
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 1         Property because it would make it difficult and/or uncomfortable for
 2
           Plaintiff to walk/traverse the property/route.
 3
 4         VIOLATION of 1991 ADAS §§ 4.5.2, 4.6.8; 2010 ADAS §§ 302.1, 303.1,

 5         303.2, 303.3, 303.4; 2010 CBC §§ 1120B.2, 1133 B.7.1, 1133B.7.4; 2019
 6
           CBC §§ 11B-303.1, 11B-303.2, 11B-303.3, 11B-303.4, 11B-303.5. (Abrupt
 7
 8         changes in level; uneven ground surface.) Floor and ground surfaces shall be
 9         stable, firm, and slip resistant. Changes in level of 1/4 inch high maximum
10
           shall be permitted to be vertical and without edge treatment. Changes in
11
12         level between ¼-inch high minimum and ½-inch high maximum shall be
13         beveled with a slope not steeper than 1:2. Changes in level greater than 1/2
14
           inch high shall be ramped. The route of travel, including from the designated
15
16         disabled parking space to the entrance of the building/business, have an
17         uneven ground surface with changes in level exceeding one-half inch (1/2")
18
           (and no ramps are provided). The route of travel has damaged ground which
19
20         is not flush or flat. The ground has pavement distresses. The types of
21
           pavement distresses which exist include but are not limited to: alligator
22
           (fatigue) cracking; joint reflection cracking; potholes; asphalt bleeding;
23
24         patching near utilities; block cracking; raveling; stripping; corrugation and
25
           shoving; and depressions. These pavement distresses are made worse and
26
           exacerbated by design elements which do not follow the ADAAG. These
27
28
                                        10
                                     COMPLAINT
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 1         areas should be fixed immediately because they pose a tripping and/or falling
 2
           hazard. Plaintiff, a cannot safely and fully enjoy the premises when such
 3
 4         conditions are present. These excess changes in level and uneven ground

 5         surfaces pose risks to Plaintiff, including that Plaintiff’s foot, may catch on
 6
           the uneven ground causing Plaintiff to fall. These abrupt changes in level
 7
 8         pose an increased risk of danger to Plaintiff, as Plaintiff is more likely to
 9         trip/fall than someone without disabilities. The excess changes in level (i.e.,
10
           uneven ground) denied Plaintiff full and equal use or access during each of
11
12         Plaintiff’s visits by making it difficult/harder and more dangerous for
13         Plaintiff to traverse the property/route. The excess changes in level (i.e.,
14
           uneven ground) also deterred/deters Plaintiff from visiting the Property
15
16         because it would be difficult/harder and more dangerous for Plaintiff to
17         traverse the property/route.
18
19
20         VIOLATION of 1991 ADAS § 4.6.2; 2010 ADAS § 208.3.1; 2010 CBC §
21
           1129B.1. (Minimize travel distance.) The parking space reserved for disabled
22
           persons is not located to minimize the travel distance to the entrance. The
23
24         parking spaces closest to the entrance of the business are not designated
25
           accessible spaces. The space reserved for disabled persons are located
26
           farther.
27
28
                                         11
                                      COMPLAINT
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 1
 2
           VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.2.; 2010 CBC §§
 3
 4         1129B.3, 1129B.4; 2019 CBC §§ 11B-502.2, 11B-502.6.4.1, 502.6.4.2.

 5         (Faded paint – accessible parking space lines.) The paint used for the
 6
           designated disabled parking space is so worn and aged that it cannot (can
 7
 8         hardly) be seen. This makes it unclear where the actual designated disabled
 9         parking space is, and it makes it difficult for Plaintiff to use the space.
10
           Plaintiff needs to be able to use the designated disabled parking space, which
11
12         should be located closest to the entrance and linked to an accessible route of
13         travel, because it is more difficult for Plaintiff as opposed to non-disabled
14
           persons, to maneuver about the Property. When the paint for the designated
15
16         disabled parking space is worn and aged, there is a greater risk that non-
17         disabled patrons will park in the designated disabled parking space,
18
           preventing Plaintiff from using it and accessing the business.
19
20
21
           VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §
22
           11B-502.2. (Width of designated disabled parking space.) The designated
23
24         disabled parking space measured/measures less than nine feet (9') wide,
25
           which made (would make) it difficult for Plaintiff to use the designated
26
           space, and which denied (would deny) plaintiff full and equal use and access
27
28
                                         12
                                      COMPLAINT
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 1         of the full width of the required space. The paint used for the accessible
 2
           parking space lines are so faded and worn that it is difficult to identify the
 3
 4         actual dimensions of the space. Plaintiff cannot safely disembark from the

 5         vehicle when adequate space is not provided. Plaintiff needs to be able to
 6
           use the designated disabled parking space, which should be located closest to
 7
 8         the entrance and linked to an accessible route of travel, because it is more
 9         difficult for Plaintiff, as opposed to non-disabled persons to maneuver about
10
           the Property.
11
12
13
14
           VIOLATION of 2010 ADAS § 502.2; 2010 CBC § 1129B.3; 2019 CBC §

15         11B-502.2. (Length of designated disabled parking space.) The designated
16
           disabled parking space measures/measured less than eighteen feet (18') long,
17
18         which made (would make) it difficult for Plaintiff to use the designated

19         space, and which denied (would deny) plaintiff full and equal use and access
20
           of the full length of the required space. The paint used for the accessible
21
22         parking space lines are so faded and worn that it is difficult to identify the

23         actual dimensions of the space. Plaintiff cannot safely park and disembark
24
           from the vehicle when adequate space is not provided. Plaintiff needs to be
25
26         able to use the designated disabled parking space, which should be located

27         closest to the entrance and linked to an accessible route of travel, because it
28
                                         13
                                      COMPLAINT
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 1         is more difficult for Plaintiff, as opposed to non-disabled persons, to
 2
           maneuver about the Property.
 3
 4         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.2; 2010 CBC §

 5         1129B.3; 2019 CBC § 11B-502.3.2. (Length of adjacent access aisle.) The
 6
           access aisle adjacent to the designated disabled parking space is/was less than
 7
 8         eighteen feet (18') long (which is also the required length of the designated
 9         disabled parking space), which denied (would deny) plaintiff full and equal
10
           use and access of the full length of the required access aisle. Plaintiff needs
11
12         extra space to be able to safely exit the vehicle. When the access aisle is too
13         small, Plaintiff has difficulty disembarking from the vehicle, which poses a
14
           greater risk of injury to Plaintiff and can also cause humiliation and/or
15
16         frustration.
17
18
           VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3.1; 2010 CBC §
19
20         1129B.3; 2019 CBC 11B-502.3.1. (Width of adjacent access aisle.) The
21
           loading/unloading access aisle adjacent to the designated disabled parking
22
           space is/was less than five feet (5') wide, which denied (would deny) plaintiff
23
24         full and equal use and access of the full width of the required access aisle.
25
           Plaintiff needs extra space to be able to safely exit the vehicle. When the
26
           access aisle is too small, Plaintiff has difficulty disembarking from the
27
28
                                        14
                                     COMPLAINT
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 1         vehicle, which poses a greater risk of injury to Plaintiff and can also cause
 2
           humiliation and/or frustration.
 3
 4
 5         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2016 CBC §§
 6
           11B-502.4, 11B-502.3.3; 2010 CBC § 1129B.3.4. (Slope of designated
 7
 8         disabled parking spaces.) The designated disabled parking spaces have
 9         slopes and cross slopes that are greater than two percent (2%). Given
10
           Plaintiff’s mobility issues, Plaintiff needs to be able to traverse on a level
11
12         surface. Sloped ground surfaces pose risks to Plaintiff, including that
13         Plaintiff’s feet may catch on the sloped ground, causing Plaintiff to fall.
14
15
16         VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.4; 2010 CBC §
17         1129B.3.3; 2019 CBC § 11B-502.4. (Slopes of adjacent access aisle.) The
18
           loading/unloading access aisle adjacent to the designated disabled parking
19
20         spaces has surface slopes greater than two percent (2%). Given Plaintiff’s
21
           mobility issues, Plaintiff needs to be able to traverse on a level surface.
22
           Sloped ground surfaces pose risks to Plaintiff, including that Plaintiff’s feet
23
24         may catch on the sloped ground, causing Plaintiff to fall.
25
26
           VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
27
28
                                         15
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 1         1129B.3.1; 2019 CBC § 11B-502.3. (No loading/unloading access aisle.)
 2
           The loading/unloading access aisle which is required to be adjacent to the
 3
 4         designated disabled parking space is/was essentially missing. There were a

 5         few barely visible lines, which may have been the remnants of a once
 6
           painted access aisle, but which did not constitute or depict a compliant
 7
 8         access aisle. This made it difficult for Plaintiff to use the space (i.e., the
 9         barely visible former access aisle) to safely disembark from the vehicle. The
10
           barrier denied (would deny) Plaintiff full and equal use or access, by
11
12         depriving Plaintiff of an aisle which is required to be properly striped/
13         marked for Plaintiff’s use (i.e., for the use of disabled persons as opposed to
14
           nondisabled persons). Plaintiff requires sufficient space to safely disembark
15
16         with her mobility device(s) away from other vehicles. Also, when an access
17         aisle is not clearly painted, there is a greater chance that non-disabled
18
           individuals will park in the access aisle, blocking Plaintiff’s use thereof.
19
20
21
           VIOLATION of 2010 CBC § 1129B.4; 2019 CBC § 11B-502.6.4.
22
           (Parking space ground surface signage.) The paint used for the designated
23
24         disabled parking space is faded and cannot (can hardly) be seen; thus, there
25
           is no compliant surface signage at the designated disabled parking space.
26
           The International Symbol of Accessibility is so faded and worn that it can
27
28
                                         16
                                      COMPLAINT
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 1         hardly be seen. This makes it difficult for Plaintiff and other patrons to
 2
           identify or locate the designated disabled parking space. When the paint for
 3
 4         the International Symbol of Accessibility is so faded and worn, there is a

 5         greater risk that non-disabled patrons will park in the designated disabled
 6
           parking space, preventing Plaintiff from using it and accessing the business.
 7
 8         Plaintiff needs to be able to park in the space that is nearest to the entrance
 9         and designated for disabled patrons. Plaintiff needs to be able to use an
10
           accessible parking space, with an access aisle, to safely access the Property.
11
12         Clear surface signage that explicitly marks the designated disabled parking
13         space will deter others without disabilities from parking in the space, so that
14
           the space can be available for Plaintiff’s use.
15
16
17         VIOLATION of 2010 ADAS § 502.3.3; 2010 CBC § 1129B.3.1; 2019
18
           CBC § 11B-502.3.3. (“NO PARKING” – ground surface signage.) The
19
20         words “NO PARKING,” which are required to be painted in the loading/
21
           unloading access aisle, were/are missing (and/or were completely faded such
22
           that the words were no longer visible). As a result, non-disabled patrons
23
24         parked in the loading/unloading access aisle, blocking Plaintiff from being
25
           able to use the access aisle. Plaintiff needs extra space to be able to safely
26
           exit the vehicle. Plaintiff has difficulty disembarking the vehicle, which
27
28
                                         17
                                      COMPLAINT
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 1         poses a greater risk of injury to Plaintiff and can cause humiliation and/or
 2
           frustration. Plaintiff cannot access the Property safely if Plaintiff cannot use
 3
 4         an accessible parking space and adjacent access aisle.

 5
 6
           VIOLATION of 1991 ADAS § 4.6.3; 2010 ADAS § 502.3; 2010 CBC §
 7
 8         1129B.3; 2019 CBC § 11B-502.3. (Access aisle adjoining accessible route.)
 9         The adjacent loading/unloading access aisles must adjoin an accessible route
10
           to an accessible entrance. It does/did not. Plaintiff cannot access the
11
12         Property safely unless there is an access aisle onto which Plaintiff can
13         disembark from the vehicle. The access aisle must lead to an accessible route,
14
           so that Plaintiff can safely travel to and enter the business. There is no safe
15
16         route of travel from the designated disabled parking space to the business
17         entrance. The barrier deterred/deters Plaintiff from visiting the property
18
           because the lack of a safe and accessible route would make it difficult,
19
20         uncomfortable, and/or unsafe for Plaintiff to walk around the property,
21         including to travel from the designated disabled parking space to the building
22
           entrance.
23
24
25
           VIOLATION of 1991 ADAS §§ 4.3.7, 4.8.1; 4.8.4(2), 4.8.4(3); 2010 ADAS
26
           § 403.3; 2010 CBC §§ 1133B.5.4.2, 1133B.5.4.6; 2019 CBC § 11B-403.3.
27
28
                                        18
                                     COMPLAINT
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 1         (Excess slopes; no compliant ramp.) The route(s) of travel has/have slopes
 2
           greater than 1:20 (5%), but there is no compliant ramp (with appropriate
 3
 4         level ramp landings at the top and bottom of each ramp). It is difficult for

 5         Plaintiff to walk on sloped surfaces that do not provide the safety features of
 6
           a compliant ramp. These excess changes in level pose risks to Plaintiff,
 7
 8         including that Plaintiff may fall. The lack of a complaint ramp, with its
 9         attendant safety/accessibility features, denied Plaintiff full and equal use or
10
           access during his visits by making it difficult/harder for Plaintiff to traverse
11
12         the property/route.
13
14
           VIOLATION of 2010 CBC § 1133B.5.2; 2019 CBC § 11B-405.5.
15
16         (Minimum width of ramps.) The route of travel has slopes greater than 1:20
17         (5%), but there is no compliant ramp. There is no compliant ramp with a
18
           minimum width of forty-eight inches (48"). Plaintiff requires adequate space
19
20         to navigate on sloped surfaces and/or ramps and Plaintiff cannot do so
21
           without a ramp of sufficient width. The lack of a complaint ramp, of the
22
           requisite width, denied Plaintiff full and equal use or access during Plaintiff’s
23
24         visits by making it difficult/ harder for Plaintiff to traverse the property/route.
25
           The lack of a complaint ramp, of the requisite width, also deterred/deters
26
           Plaintiff from visiting the Property because it would be difficult/harder for
27
28
                                         19
                                      COMPLAINT
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 1         Plaintiff to traverse the property/route.
 2
 3
 4         VIOLATION of 1991 ADAS § 4.8.2; 2010 CBC § 1133B.5.3. (Least

 5         possible slope of ramp.) There is no compliant ramp, with the least possible
 6
           slope, leading into the business. The curb ramp exceeds the maximum
 7
 8         running slope allowable. Plaintiff has difficulty traveling on slopes that are
 9         not compliant ramps.
10
11
12         VIOLATION of 1991 ADAS § 4.29.5; 2010 CBC § 1133B.8.5; 2019 CBC
13         § 11B-247.1.2.5. (Hazardous Vehicular Area.) The path of travel crosses a
14
           vehicular way, but the walking surface is not separated by curbs, railings, or
15
16         a continuous detectable warning. There is no safe way for Plaintiff to travel
17         from the designated disabled parking space to the business/building entrance.
18
           Plaintiff is forced to travel a dangerous route, behind parked cars and in the
19
20         vehicle drive to the business entrance. Plaintiff faces an increased risk of
21
           injury if Plaintiff has to travel in the path of vehicles because it is more
22
           difficult for drivers to see Plaintiff, and Plaintiff cannot quickly move out of
23
24         the way of an oncoming vehicle. Thus, Plaintiff requires a safe path away
25
           from other vehicles. The safe, accessible path must be clearly marked so that
26
           Plaintiff can find it.
27
28
                                         20
                                      COMPLAINT
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 1
 2
 3
 4          21.    Plaintiff personally encountered the foregoing barriers, conditions,

 5   and/or violations.
 6
            22.    These barriers, conditions, and/or violations denied Plaintiff full and
 7
 8   equal access, and caused him difficulty, humiliation, and/or frustration.
 9          23.    The barriers, conditions, and/or violations existed during each of
10
     Plaintiff’s visits in 2021.
11
12          24.    Defendants knew that the foregoing architectural barriers prevented
13   access. Plaintiff will prove that Defendants had actual knowledge that the
14
     architectural barriers prevented access, and that the noncompliance with the ADA
15
16   Standards for Accessible Design (ADAS), ADA Accessibility Guidelines for
17   Buildings and Facilities (ADAAG), and/or the California Building Code (CBC)
18
     was intentional.
19
20          25.    Plaintiff intends and plans to visit the Property again soon. Currently,
21
     Plaintiff is reasonably deterred from returning to Defendants’ public
22
     accommodation facilities because of the knowledge of barriers to equal access,
23
24   relating to Plaintiff’s disabilities, that continue to exist at the Property.
25
            26.    Defendants have failed to maintain in working and useable condition
26
     those features necessary to provide ready access to persons with disabilities.
27
28
                                           21
                                        COMPLAINT
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 1         27.    Defendants have the financial resources (i.e., financial ability) to
 2
     remove these barriers without much expense or difficulty in order to make the
 3
 4   Property more accessible to their mobility impaired customers (i.e., disabled

 5   persons). The removal of these barriers is readily achievable. The United States
 6
     Department of Justice has determined that removal of these types of barriers is
 7
 8   readily achievable.
 9         28.    Defendants refuse to remove these barriers.
10
           29.    On information and belief, Plaintiff alleges that Defendants’ failure to
11
12   remove these barriers was/is intentional, because the barriers are logical and
13   obvious. During all relevant times, Defendants had authority, control, and
14
     dominion over these conditions. Thus, the absence of accessible facilities was/is
15
16   not a mishap; it was/is the result of intentional actions or inaction.
17         30.    These barriers to access are described herein without prejudice to
18
     Plaintiff citing additional barriers to access after further inspection by Plaintiff’s
19
20   agents and/or experts. See Doran v 7-ELEVEN, Inc., 524 F.3d 1034 (9th Cir. 2008)
21
     (holding that once a plaintiff encounters one barrier at a site, a plaintiff can sue to
22
     have all barriers that relate to his or her disability removed, regardless of whether
23
24   he or she personally encountered them).
25
                 IV. FIRST CAUSE OF ACTION: VIOLATION OF THE
26
                   AMERICANS WITH DISABILITIES ACT OF 1990
27
28
                                          22
                                       COMPLAINT
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 1                                  (42 U.S.C. § 12101, et seq.)
 2
                                     (Against All Defendants)
 3
 4             31.   Plaintiff alleges and incorporates by reference each and every

 5   allegation contained in all prior paragraphs of this complaint.
 6
               32.   Title III of the ADA prohibits discrimination against any person on the
 7
 8   basis of disability in the full and equal enjoyment of the goods, services, facilities,
 9   privileges, advantages, or accommodations of any place of public accommodation
10
     by any person who owns, leases, or operates a place of public accommodation. 42
11
12   U.S.C. § 12182(a).
13             33.   Defendants discriminated against Plaintiff by denying him “full and
14
     equal enjoyment” and use of the goods, services, facilities, privileges, and/or
15
16   accommodations they offered during each visit, and each incident of a deterred
17   visit.
18
               34.   The acts and omissions of Defendants herein were/are in violation of
19
20   Plaintiff’s rights under the ADA and the regulations codified at 28 C.F.R. Part 36,
21
     et seq.
22
               35.   Pursuant to the ADA, discrimination is a “failure to make reasonable
23
24   modifications in policies, practices or procedures, when such modifications are
25
     necessary to afford goods, services, facilities, privileges, advantages or
26
     accommodations to individuals with disabilities, unless the entity can demonstrate
27
28
                                           23
                                        COMPLAINT
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 1   that making such modifications would fundamentally alter the nature of such goods,
 2
     services, facilities, privileges, advantages or accommodations.” 42 U.S.C. §
 3
 4   12182(b)(2)(A)(ii).

 5         36.    The ADA requires removal of architectural barriers in existing
 6
     facilities where such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv)
 7
 8   (“discrimination includes … a failure to remove architectural barriers, and
 9   communication barriers that are structural in nature, in existing facilities, … where
10
     such removal is readily achievable”). The term “readily achievable” is defined as
11
12   “easily accomplishable and able to be carried out without much difficulty or
13   expense.” 42 U.S.C. § 12181(9). Barriers are defined by reference to the ADA
14
     Standards for Accessible Design (ADAS), found at 28 C.F.R. Part 36, including the
15
16   ADA Accessibility Guidelines for Buildings and Facilities (ADAAG), at Part 36,
17   Appendix A.
18
           37.    If removal of any barrier is not readily achievable, a failure to make
19
20   goods, services, facilities, or accommodations available through alternative
21
     methods is also prohibited if the alternative methods are readily achievable. 42
22
     U.S.C. § 12182(b)(2)(A)(v).
23
24         38.    Defendants can remove the architectural barriers at their facility
25
     without much difficulty or expense. Defendants violated the ADA by failing to
26
     remove the barriers because removal was readily achievable. For instance, there
27
28
                                        24
                                     COMPLAINT
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 1   are companies which can repaint parking areas for as little as $350. Defendants can
 2
     afford such costs, which are a fraction of what Defendants receive in (rental or
 3
 4   business) profits in connection with such a large and expensive property.

 5         39.    Alternatively, if it was not “readily achievable” for Defendants to
 6
     remove barriers at their facilities, Defendants violated the ADA by failing to make
 7
 8   their services available through alternative methods which are readily achievable.
 9         40.    On information and belief, Plaintiff alleges that the facility was altered
10
     after January 26, 1992, mandating compliance with accessibility requirements
11
12   under the ADA.
13         41.    The ADA requires that facilities altered in a manner that affects or
14
     could affect their usability must be made readily accessible to individuals with
15
16   disabilities to the maximum extent feasible. 42 U.S.C. § 12183(a)(2).
17         42.    Defendants altered the facilities at the Property in a manner that
18
     violated the ADA, and/or failed to make the Property readily accessible to
19
20   physically disabled persons to the maximum extent feasible.
21
           43.    The ADA also requires reasonable modifications in policies, practices,
22
     or procedures, when such modifications are necessary to afford goods, services,
23
24   facilities, privileges, advantages, or accommodations to individuals with
25
     disabilities, unless the entity can demonstrate that making such modifications
26
     would fundamentally alter the nature of such goods, services, facilities, privileges,
27
28
                                         25
                                      COMPLAINT
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 1   advantages, or accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 2
           44.    Defendants violated the ADA by failing to make reasonable
 3
 4   modifications in policies, practices, or procedures at the Property when these

 5   modifications were necessary to afford (and would not fundamentally alter the
 6
     nature of) the goods, services, facilities, privileges, advantages, or accommodations.
 7
 8         45.    Plaintiff seeks a finding from this Court that Defendants violated the
 9   ADA, so that he may pursue damages under California’s Unruh Civil Rights Act.
10
           46.    Here Defendants’ failure to make sure that accessible facilities were
11
12   available to, and ready to be used by, Plaintiff was/is a violation of law.
13         47.    Plaintiff would like to continue to frequent the Property, which is close
14
     to his home. However, he is deterred from doing so because he has been
15
16   discriminated against and is aware of accessibility barriers at the Property.
17         48.    Among the remedies sought, Plaintiff seeks an injunction order
18
     requiring compliance with federal and state disability access laws, and remediation
19
20   of the existing access violations (i.e., removal of the existing barriers) at the
21
     Property.
22
                 V. SECOND CAUSE OF ACTION: VIOLATION OF THE
23
24                              UNRUH CIVIL RIGHTS ACT
25
                                   (Cal. Civ. Code §§ 51-53)
26
                                    (Against All Defendants)
27
28
                                          26
                                       COMPLAINT
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 1          49.    Plaintiff repleads and incorporates by reference, as though fully set
 2
     forth herein, the allegations contained in all prior paragraphs of this complaint.
 3
 4          50.    California Civil Code § 51 states, in part: “All persons within the

 5   jurisdictions of this state are entitled to the full and equal accommodations,
 6
     advantages, facilities, privileges, or services in all business establishments of every
 7
 8   kind whatsoever.”
 9          51.    California Civil Code § 51 also states, in part: “No business
10
     establishment of any kind whatsoever shall discriminate against any person in this
11
12   state because of the disability of the person.”
13          52.    California Civil Code § 51(f) specifically incorporates, by reference,
14
     an individual’s rights under the ADA into the Unruh Civil Rights Act (UCRA).
15
16          53.    The UCRA also provides that a violation of the ADA, or California
17   state accessibility regulations, is a violation of the UCRA. Cal. Civ. Code § 51(f);
18
     see Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439 (N.D. Cal.
19
20   1994).
21
            54.    Defendants’ above-mentioned acts and omissions have violated the
22
     UCRA by denying Plaintiff his rights to full and equal use of the accommodations,
23
24   advantages, facilities, privileges, and services they offer, on the basis of Plaintiff’s
25
     disability.
26
            55.    Defendants’ above-mentioned acts and omissions have also violated
27
28
                                          27
                                       COMPLAINT
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 1   the UCRA by denying Plaintiff his rights to equal access pursuant to the ADA; and,
 2
     thus, Defendants are liable for damages. See Cal. Civ. Code § 51(f), 52(a).
 3
 4         56.   Because Defendants’ violation of the UCRA resulted in difficulty,

 5   discomfort, and/or embarrassment for Plaintiff, Defendants are each also
 6
     responsible for statutory damages. See Cal. Civ. Code § 55.56(a), (c).
 7
 8   //
 9   //
10
     //
11
12   //
13   //
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     //
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28
                                        28
                                     COMPLAINT
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 1         57.      Plaintiff was (actually) damaged by Defendants’ wrongful conduct.
 2
     He seeks actual damages, and statutory minimum damages of four thousand dollars
 3
 4   ($4,000) for each offense (i.e., for each occasion that Plaintiff was denied full and

 5   equal access).
 6
                                    PRAYER FOR RELIEF
 7
 8         WHEREFORE, Plaintiff prays for judgment against Defendants, as follows:
 9         1. For injunctive relief compelling Defendants to comply with the
10
                 Americans with Disabilities Act and the Unruh Civil Rights Act. Note:
11
12               Plaintiff is not invoking section 55 of the California Civil Code and is not
13               seeking injunctive relief under the Disabled Persons Act.
14
           2. Damages under the Unruh Civil Rights Act, which provides for actual
15
16               damages and statutory minimum damages of $4,000 per each offense.
17         3. Reasonable attorney fees, litigation expenses, and costs of suit, pursuant
18
                 to 42 U.S.C. § 12205, and Cal. Civ. Code § 52.
19
20
21
                                        JURY DEMAND
22
           Plaintiff demands a trial by jury on all issues so triable.
23
24
25   Dated: November 29, 2021                 THE LAW OFFICE OF HAKIMI & SHAHRIARI

26                                      By:   /s/ Peter Shahriari
                                              PETER SHAHRIARI, ESQ.
27                                            Attorney for Plaintiff George Jones
28
                                           29
                                        COMPLAINT
